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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Doe
Plaintiff

Vi

 

Civil Action No. 3:23-cv-00508-N

Backpage.com LLC et al

Defendant

 

Summons in a Civil Action

TO: John Brunst

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff's attorney, whose name and address are:

Lannie Kelly
11606 N IH-35
Austin , TX 78753

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

Came to hand on 03-10-2023 @ 12:25 P.M.

DRLS~.
516 West Annie St.

Austin, Texas 78704
2300-2.

 

 

RETURN
ATTACHED

 
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UNITED STATES DISTRICT COURT
for the Northern District of Texas

Doe §
Plaintiff §
§
Vv. § Civil Action No. 3:23-cv-00508-N
§
Backpage.com LLC et al § PROOF OF SERVICE AFFIDAVIT
Defendants

Before me, the undersigned authority, personally appeared Zachary Paul Mueller, to me well
known, after being duly sworn, did depose and say:

“My name is Zachary Paul Mueller. ] am not less than eighteen (18) years of age and not a party to or
interested in the outcome of the above styled and numbered suit.

Came to hand on the 10th day of March, 2023, at 12:25 p.m., Summons In A Civil Action with
Plaintiff's Original Complaint attached, for service on John Brunst, Defendant.

Executed by me on the 18th day of March 2023, at 8:56 a.m., by delivering to John Brunst, by
delivering in person to Sarah Brunst, Co-Resident over the age of eighteen (18) years, described
as a white female about 20 years of age, about 5’7 and about 140 lbs., with brown hair at 4931 E
White Gates Drive Phoenix, Arizona 85018.

I declare under penalty of perjury under the laws of the United States of America that the foregoing
information contained in the Return of Service and Statement of Service Fees is true and correct.”

Printed Name: _ Zachary Paul Mueller

 

Signature of non-party adult - DRLS
Service Fee $ 144.00 516 W. Annie Street, Austin, Texas 78704
re: 2300-2/Carlson

VERIFICATION
STATE OF ARIZONA

Before me, a notary public, on this day personally appeared the above-named person, known to me to be
the person whose name is subscribed to the foregoing document and, being by me first duly sworn,
declared that the statements/facts therein contained are within his/her personal knowledge to be true and
correct. Given under my hand and seal of office on the _gf/ day of March 2023.

Notary, *€ in ang/for the State of Arizona
E Pursuant To FRCP 4(1){1)]

oT LE
7 OFFICIAL SEAL.
> CRAIG PODGURSKI JR
@\ NOTARY PUBLIC - ARIZONA
ARIZONA COUNTY
y COMM # 893983
Y My Comm. Expires 42/15/2024 Q

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